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UNI'I`ED STATES DISTRIC'I` COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

DEBRA LEE CRUISE-GULYAS, an
Case No. 18-11169
Plaintiff,
Paul D. Borman
v. United States District Judge

MATTHEW WAYNE MINARD,
individually and in his official capacity
as a Taylor Police Officer,

Defendant.
/

 

OPINION AND ORDER
DENYING DEFENDANT’S MOTION TO DISMISS

Plaintiff s amended complaint based upon 42 U.S.C. § 1983 alleges that Defendant
violated her constitutional rights under the First, Fourth, and Fourteenth Amendments to
the Constitution.

Plaintiff contends that Defendant Minard, While acting as a Taylor Police Officer,
violated her rights on June 1, 2017, by seizing her and her vehicle, without probable cause
or even reasonable suspicion. Specif`lcally, Plaintiff states that after Defendant completed
a trach stop for speeding and issued her a ticket for impeding traffic, as she pulled away
she “flipped him the bird” (raised her middle iinger) whereupon he stopped/seized her a

second time for no legitimate reason thereby violating her constitutional rights.

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Plaintiff claims are:

l. Count One - First Amendment Retaliation 42 U.S.C. §
1983

2. Count Two - Fourth Amendment (42 U.S.C. § 1983;
Unlawf`ul Detention and Seizure)

3. Count Three - Substantive Due Process (42 U.S.C. § 1983;
Fundamental Liberty)

On June 19, 2018, Defendant filed a Motion for Judgment on the Pleadings
Pursuant to Fed. R. Civ. P. 12(0) (ECF #10). On July 3, 2018, Plaintiff filed a Response
(ECF #12). On July 11, 2018, Defendant filed a Reply (ECF #13). On September 21,
2018, the Court held oral argument

The evidence before the Court included a state court record that established that
Plaintiff had received and paid a ticket for impeding traffic. That ticket was written by
Defendant Minard after the initial stop for speeding. While Defendant could have, at that
time, issued a ticket for speeding, he did not. It Was only after the initial stop had been
completed, and Plaintiff drove off and “flipped the bird” that Defendant stopped her a
second time without any legal justification

The Court noted on this record that precedential case law, dating back years before
this offense clearly established that “flipping the bird” to a police officer is protected as
freedom of speech under the First Amendment and also clearly established Fourth
Amendment precedent protects Plaintiff from being stopped and seized by police without

probable cause or even reasonable suspicion.

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The following cases inform this decision:

Whren v. Um`ted States, 116 S. Ct. 1769, 1772 (1996).
Temporary detention of individuals during the stop of an
automobile by the police, even if only for a brief period and
for a limited purpose, constitutes a “seizure” of “persons”
[under the Fourth Amendment].

Swartz v. Insogna, 704 F.3d 105, 110 (2d Cir. 2013) “This
ancient gesture of insult [giving him the finger] is not the
basis for a reasonable suspicion of a traffic violation or
impending criminal activity.” (emphasis in original)

Wilson v. Martz'n, 549 Fed. Appx. 309 (6th Cir. 2013) “T.W.’s
gesture (raising middle finger toward an adult male police
officer) . . . was crude, not criminal; and the officers were
patently without probable cause to arrest her for it. . . . Hence
the district court was correct to deny qualified immunity . . . .”

Greene v. Barber, 310 F.3d 889, 896-97 (6th Cir. 2002). “Mr.
Greene’s characterization of Lt. Barber as an “asshole” was
not egregious enough to trigger application of the “fighting
words” doctrine. [W]as Greene’s right not to be arrested for
insulting a police officer “clearly established” in March of
1997? Mount Healthy v. Doyle, 97 S.Ct. 568 (1977) . . . held
that where constitutionally protected speech is ‘a motivating
factor’ in governmental action adverse to the plaintiff`, the
adverse action is unconstitutional . . . .”

Sana'ul v. Larion, 119 F.3d 1250, 1254-55 (6th Cir. 1997). It is
well-established that “absent a more particularized and
compelling reason for its actions, a State may not, consistently
with the First and Fourteenth Amendments make the simple
public display . . . of a four-letter expletive a criminal offense.
Cohen v. Calz'form'a, 403 U.S. 15, 26 (1971). In Cohen, the
words of individual expression were also f-k you . . . . First
Amendment protection is very expansive.”

Finally, at the September 21, 2018 hearing, Defendant’s counsel conceded: “No

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doubt the gesture helped - it probably was the foundation for the change of his
[Defendant’s] mind” [to implement a second stop] . . . “I can’t argue around that, your
I-Ionor.”

For the reasons stated on the record, and in this Opinion, the Court DENIES
Defendant’s Motion to Dismiss, and Orders the parties to commence facilitation before

Magistrate Judge Elizabeth Stafford.

F:QQ\
DATED: SEP 24 2018 i

Paul D. Borman
United States District Judge

 

